     Case: 1:21-cv-01148 Document #: 64 Filed: 11/21/22 Page 1 of 1 PageID #:165

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

Reyna Arroyo
                                       Plaintiff,
v.                                                         Case No.: 1:21−cv−01148
                                                           Honorable Gary Feinerman
City of Chicago Police Dept.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 21, 2022:


        MINUTE entry before the Honorable Jeffrey Cummings: The Court has reviewed
the parties' joint status report [63]. The parties report that plaintiff is reviewing the City's
document productions, the parties are coordinating depositions, and the City has
subpoenaed medical records from plaintiff's treating physician. The parties plan on taking
approximately eight depositions and anticipate issuing notices for deposition by 12/21/22.
The parties shall work diligently and cooperatively to schedule those depositions on
mutually agreeable dates in advance of the 2/26/23 fact discovery deadline. By 1/5/23, the
parties shall file a joint status report setting forth what additional discovery has been
completed, what discovery remains (including the schedule for any remaining
depositions), and whether any discovery disputes require the Court's attention. The parties
are reminded that they may contact this Court's courtroom deputy if at any time they
become mutually interested in scheduling a settlement conference with the Court. Mailed
notice(cc, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
